                       IN THE UNITED STATES DISTRICT COURT
                   FOR THE EASTERN DISTRICT OF NORTH CAROLINA
                                WESTERN DIVISION


ANNA JOYNER,                                      )
                                                  )
                      Plaintiff,                  )
       v.                                         )
                                                  )              Civil Action No. 5:19-171
HHHUNT CORPORATION,                               )
                                                  )
                      Defendants.                 )
                                                  )



                                         COMPLAINT
       1.      This is a civil action seeking damages and equitable relief from Defendant

HHHunt Corporation’s (“HHHunt”) unlawful discrimination against Plaintiff Anna Joyner in

violation of the Americans with Disabilities Act (“ADA”) 42. U.S.C. § 12101 et seq., and

wrongful discharge of Plaintiff in violation of North Carolina public policy.



                                         THE PARTIES

       2.      Plaintiff Anna Joyner is a resident of Nash County, North Carolina. Plaintiff was

employed as the Sales and Marketing Director for Defendant’s Spring Arbor Senior Living

facility based in Nash County, from 2014 to March 2018. During that period, Plaintiff was an

“employee” of Defendant within the meaning of the ADA, 42 U.S.C. § 12111(4), and the

common law.

       3.      Defendant HHHunt is a corporation organized and existing under the laws of the

State of Virginia, with its principal place of business in Blacksburg, Virginia. Defendant has a

registered office and corporate office in Raleigh, North Carolina. Defendant owns and operates




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the Spring Arbor Senior Living facility (“Spring Arbor”) located in Rocky Mount, North

Carolina.

       4.      Defendant was at all relevant times an employer within the meaning of the ADA,

42 U.S.C. § 1211(5), and the common law. Defendant at all relevant times employed 15 or more

employees.

                                JURISDICTION AND VENUE

       5.      This Court has jurisdiction over the subject matter and the parties to this action

pursuant to 42. U.S.C. § 2000e-5(f)(3), 29 U.S.C. § 2617(a)(2), and 28 U.S.C. § 1367(a).

       6.      Venue is proper in this district under 28 U.S.C. § 1391 because the causes of

action arose in Nash County, North Carolina.


                                              FACTS

       7.      The foregoing allegations are incorporated by reference herein.

       8.      Defendant HHHunt is a large land acquisition and development company that

owns and operates apartment buildings, planned communities, and senior living facilities in

North Carolina, South Carolina, Virginia, and Maryland.

       9.      Plaintiff began working for Defendant as a Sales and Marketing Director at

Defendant’s Spring Arbor facility in Rocky Mount, North Carolina. Plaintiff’s responsibilities

were primarily related to new and prospective client management and marketing. Plaintiff’s

responsibilities included assisting in the client intake process, handling paperwork for

prospective residents, conducting tours of the facility, meeting with the residents’ family

members, and corresponding with referral sources by phone and e-mail. The large majority of

Plaintiff’s work was performed onsite at the Spring Arbor facility. Plaintiff sometimes visited

local referral sources offsite, often with another co-worker.




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        10.      In early 2017, Plaintiff tripped and injured her right shoulder. She continued to

work full-time with her right arm in a sling for several weeks.

        11.      In August 2017, Plaintiff was diagnosed with an anterior labral tear in her right

shoulder. On September 20, 2017, Plaintiff underwent surgery for her shoulder in a hospital in

Raleigh, North Carolina. On November 24, 2017, Plaintiff underwent a follow-up procedure for

her shoulder.

        12.      Plaintiff went on Family and Medical Leave Act (“FMLA”) leave on September

20, 2017. Defendant did not pay Plaintiff’s regular salary while she was on leave, except for a

few days for which Plaintiff may have received paid sick leave.

        13.      In early December 2017, Plaintiff’s physician gave Plaintiff permission to return

to work as of December 13, 2017. Plaintiff’s physician assigned her specific work restrictions.

Plaintiff’s physician told Plaintiff she could not lift, push, or pull with her right arm. As a result

of these limitations, Plaintiff’s physician told Plaintiff she could not drive.

        14.      Plaintiff promptly called her supervisor, Dawana Walston, Defendant’s Executive

Director for the Spring Arbor facility. Plaintiff explained to Walston that her physician released

her to work, informed Walston that she could return to work as of December 13, and discussed

her restrictions.

        15.      On December 6, 2017, Plaintiff sent Defendant a copy of her physician’s note

releasing Plaintiff to work with the above-described restrictions starting on December 13, 2017.

Plaintiff explained that she would need to go to physical therapy appointments three days per

week at 4:00 p.m. Plaintiff explained that she would come to work early and stay late to make

up any work time missed due to her physical therapy appointments. Plaintiff explained that her

husband would drive her to and from work due to her driving restriction.




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       16.      On December 7, 2017, Walston called Plaintiff and asked Plaintiff if she could

perform her job with the physician’s restrictions. Plaintiff responded that she could. Plaintiff

reminded Defendant that she had worked for several weeks with her right arm in a sling after her

initial fall in early 2017. Plaintiff explained that her husband could drive her to and from work.

Plaintiff explained that she could get a ride with co-workers if she needed to travel offsite during

the work day. Plaintiff expressed her desire to return to work.

       17.      Walston told Plaintiff that Plaintiff could not return to work, and instructed her to

keep Defendant updated on her physical condition.

       18.      Plaintiff could complete her work responsibilities without using her right arm for

pushing, pulling, and lifting. Plaintiff had previously performed her job duties with her right arm

in a sling for several weeks.

       19.      On December 11, 2017, Walston instructed Plaintiff to return her work laptop.

       20.      Plaintiff received a letter dated December 13, 2017, stating that as of December

13, 2017, defendant would consider her an inactive employee on an unpaid leave of absence.

       21.      After December 13, 2017, Defendant treated Plaintiff as an inactive employee on

an unpaid, personal leave of absence until her short-term disability benefits expired. Plaintiff

was required to make bi-weekly benefit continuation payments in order to continue receiving her

regular benefits.

       22.      Before being placed on involuntary leave in December 2017, Plaintiff

occasionally traveled to offsite referral sources in the course of her employment. All of these

locations were in or near Rocky Mount. Many were clustered together in a single, walkable

location, such as Nash General Hospital and associated facilities.




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       23.      Although Plaintiff’s physician told her that her limitations would prevent her from

driving, she had no restrictions on her ability to travel. There were many reasonable

accommodations that, alone or in combination, would have permitted Plaintiff to continue

traveling when necessary, including traveling with co-workers who could drive; using taxis,

drivers, or ridesharing services; adjusting her schedule to minimize the number of trips needed;

and relying on her husband for transportation when his schedule permitted. None of these

accommodations would have imposed an undue hardship on Defendant.

       24.      Plaintiff tried to discuss possible accommodations with Walston. Walston did not

discuss the potential accommodations or any alternative accommodations.

       25.      On December 20, 2017, Defendant posted a job opening for Plaintiff’s position.

The job description does not state that lifting, pushing, pulling, driving, or traveling were job

requirements.

       26.      Plaintiff repeatedly contacted Walston in January and February 2018 regarding

her condition, and her desire and ability to return to work. Walston repeatedly told Plaintiff that

she could return to work if her medical restrictions were lifted.

       27.      Walston stopped returning Plaintiff’s phone calls after February 20, 2018.

       28.      On March 5, 2018, Defendant sent Plaintiff a letter stating that she would be

terminated effective March 21, 2018, when her short-term disability benefits expired.

       29.      On March 21, 2018, Defendant terminated Plaintiff. At the time of her

termination, Plaintiff was still under the same medical limitations imposed in December 2017,

and was still able to perform the essential functions of her job, with or without reasonable

accommodation.




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       30.      Plaintiff was substantially limited in pulling, pushing, and lifting with her right

arm as compared to the general population. Pulling, pushing, and lifting are major life activities.

       31.      In December 2017, Plaintiff requested a number of reasonable accommodations

that would have permitted her to continue working. These accommodations would not have

created an undue hardship for Defendant.

       32.      At all times when Plaintiff was permitted to work, she performed her job in a

satisfactory manner. Plaintiff was never told that she was performing inadequately.

       33.      Defendant forced Plaintiff onto involuntary unpaid leave in December 2017, and

subsequently terminated Plaintiff, because of her medical condition and limitations.

       34.      Upon information and belief, Defendant, through its corporate management,

deliberately trained, supervised, instructed, and authorized its managers to engage in the above

unlawful practices, and approved and ratified their actions in order to enhance corporate profits

and reduce labor costs.

       35.      On May 8, 2018, Plaintiff filed a charge of discrimination with the Equal

Employment Opportunity Commission (“EEOC”), alleging the violations of the ADA set forth in

Claim I below. On January 30, 2019, the EEOC issued Plaintiff a right-to-sue notice for her

charge of discrimination.


                                FIRST CLAIM FOR RELIEF
                          Violation of ADA, 42 U.S.C. § 12101 et seq.
                       (Wrongful Termination and Failure to Accommodate)

       36.      The foregoing allegations are incorporated by reference herein.

       37.      The ADA prohibits discrimination in employment on the basis of a disability.

Plaintiff was at all relevant times a qualified individual with a disability under the ADA. 42

U.S.C. §§ 12102, 12111.




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       38.      Defendant regularly employed more than 15 employees at all relevant times.

       39.      Plaintiff could, with or without reasonable accommodation, perform the essential

functions of her position.

       40.      Plaintiff’s medical condition and limitations were neither transitory nor minor.

       41.      Defendant forced Plaintiff onto involuntary unpaid leave and terminated Plaintiff

because of her disability and/or because it regarded her as someone with a disability in violation

of the ADA, 42 U.S.C. § 12112(a).

       42.      Defendant failed to reasonably accommodate Plaintiff’s condition in violation of

the ADA, 42 U.S.C. § 12112(b)(5)(A).

       43.      Defendant in bad faith failed to engage in an interactive process with Plaintiff to

identify reasonable accommodations in violation of the ADA, 29 C.F.R. § 1630.2(o)(3).

       44.      Plaintiff has satisfied all procedural and administrative requirements of the ADA

by timely filing written charges with the EEOC, receiving a notice of right to sue from the

EEOC, and filing this complaint within 90 days from the receipt of the notice of right to sue.

       45.      As a proximate result of Defendant’s unlawful and discriminatory conduct,

Plaintiff has suffered lost income, lost benefits, emotional distress, anxiety, humiliation,

expenses, and other damages, and is entitled to recover compensatory damages.

       46.      Defendant’s actions were done maliciously, willfully or wantonly, or in a manner

that demonstrates a reckless disregard for Plaintiff’s rights. As a result of Defendant’s conduct,

Plaintiff is entitled to recover punitive damages.


                              SECOND CLAIM FOR RELIEF
                         Wrongful Discharge in Violation of Public Policy

       47.      The foregoing allegations are incorporated by reference herein.




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       48.      Defendant regularly employed more than 15 employees at all relevant times.

       49.      Under the North Carolina Equal Employment Practices Act (“NCEEPA”), N.C.

Gen. Stat. § 143-422.1 et seq., and N.C. Gen. Stat. § 168A-2, the North Carolina legislature has

declared that it is the public policy of the State of North Carolina to protect and safeguard the

right and opportunity of all persons to obtain and hold employment without discrimination or

abridgement on account of a handicap or disability.

       50.      Defendant violated the public policy of the State of North Carolina by forcing

Plaintiff onto involuntary unpaid leave and terminating Plaintiff on account of her handicap or

disability. Defendant wrongfully discharged Plaintiff in contravention of the express public

policy of the State of North Carolina, which is actionable under North Carolina law.

       51.      As a proximate result of Defendant’s wrongful discharge, Plaintiff has suffered

lost income, lost benefits, emotional distress, anxiety, humiliation, expenses, and other damages,

and is entitled to recover compensatory damages.

       52.      Defendant’s actions were done maliciously, willfully or wantonly, or in a manner

that demonstrates a reckless disregard for Plaintiff’s rights. As a result of Defendant’s conduct,

Plaintiff is entitled to recover punitive damages.


                                     PRAYER FOR RELIEF

       WHEREFORE, Plaintiff requests the following relief:

       (1)      That the Court declare that Defendant’s practices complained of herein are

unlawful under the ADA and North Carolina common law;

       (2)      That the Court enter a judgment against Defendant and order Defendant to pay

Plaintiff compensatory damages, as well as exemplary, liquidated and/or punitive damages;




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       (3)      That the Court award Plaintiff all reasonable costs and attorneys’ fees incurred in

connection with this action;

       (4)      That the Court award Plaintiff pre-judgment and post-judgment interest;

       (5)      That the Court grant the Plaintiff a trial by a jury; and

       (6)      Such other and further legal and equitable relief as this Court deems necessary,

just, and proper.


                                  DEMAND FOR JURY TRIAL

       Plaintiff hereby demands a trial by jury on all issues presented herein.



       This the 29th day of April, 2019.


                                                       /s/ Paul E. Smith
                                                       Paul E. Smith, NC Bar No. 45014
                                                       psmith@pathlaw.com
                                                       Trisha S. Pande, NC Bar No. 53573
                                                       tpande@pathlaw.com
                                                       Narendra K. Ghosh, NC Bar No. 37649
                                                       nghosh@pathlaw.com
                                                       Patterson Harkavy LLP
                                                       100 Europa Dr., Suite 420
                                                       Chapel Hill, NC 27517
                                                       Tel: 919.942.5200
                                                       Fax: 866.397.8671

                                                       Counsel for Plaintiff




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